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Denise Buckley

From:                              Denise Buckley
Sent:                              Monday, July 24, 2017 12:03 PM
To:                                'Leo Glickman'
Subject:                           Burks v Stickney - Supt Kirkpatrick


Leo,

I just received word that Supt Kirkpatrick will not be able to attend tomorrow’s deposition as he is out sick. Please let
me know whether you have any dates of availability between now and the end of August and I will try to reschedule.

I will see you at 1pm today for Sgt. Cross’ deposition.

Best regards,

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